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                                                                                   APPEAL,CLOSED
                           U.S. District Court
                  Southern District of Georgia (Augusta)
        CRIMINAL DOCKET FOR CASE #: 1:20−cr−00014−JRH−BKE−1

Case title: USA v. Gunn, et al.                           Date Filed: 03/05/2020
                                                          Date Terminated: 05/25/2022

Assigned to: Chief Judge J.
Randal Hall
Referred to: Magistrate Judge
Brian K. Epps

Defendant (1)
Michael Peyton Gunn                represented by Shawn M. Merzlak
TERMINATED: 05/25/2022                            Hawk Law Group
                                                  338 Telfair Street
                                                  Augusta, GA 30901
                                                  706−722−3500
                                                  Fax: 866−295−0234
                                                  Email: smerzlak@hawklawgroup.com
                                                  LEAD ATTORNEY
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

Pending Counts                                  Disposition
                                                custody of the BOP for life to be served concurrently
18 U.S.C. § 1594(c) Sex
                                                to all other counts; supervised release for life to be
Trafficking Conspiracy
                                                served concurrently all all other counts; $800,000
(1s)
                                                restitution; $100 special assessment
                                                custody of the BOP for life to be served concurrently
18 U.S.C. § 1591(a) Sex
                                                with all other counts; supervised release for life to be
Trafficking of a Child
                                                served concurrently with all other counts; $100
(2s)
                                                special assessment
18 U.S.C. § 2422(b) Coercion                    custody of the BOP for life to be served concurrently
and Enticement of a Child to                    with all other counts; supervised release for life for
Engage in Sexual Activity                       be served concurrently with all other counts; $100
(3s)                                            special assessment
                                                30 years custody BOP as to each of counts 4s−7s to
18 U.S.C. § 2251(b) Production                  be served concurrently; Supervised release for life as
of Child Pornography by a Parent                to each of counts 4s−7s to be served concurrently;
or Guardian                                     $100 special assessment as to each of counts 4s−7s;
(4s−7s)                                         and $100 AVAA special assessment as to each of
                                                counts 4s−7s
18 U.S.C. § 2252A(a)(5)(B)                      20 years custody BOP to be served concurrently with
Possession of Child Pornography                 all other counts; supervised release for life to be

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(8s)                                     served concurrently with all other counts; $100
                                         special assessment; $100 AVAA special assessment
18 U.S.C. § 1591(d) Obstruction          25 years custody BOP to be served concurrently with
of a Child Sex Trafficking               all other counts; supervised release for life to be
Investigation                            served concurrently with all other counts; $100
(9s)                                     special assessment

Highest Offense Level
(Opening)
Felony

Terminated Counts                        Disposition
18 U.S.C. § 2251(b) Production
of Child Pornography by a Parent
                                         DISMISSED
or Guardian
(1−4)
18 U.S.C. § 2252A(a)(5)(B)
Possession of Child Pornography          DISMISSED
(5)

Highest Offense Level
(Terminated)
Felony

Complaints                               Disposition
None



Interested Party
Sheila Wahman                       represented by Sheila G. Wahman
guardian ad litem                                  Wahman Law
                                                   3540 Wheeler Road
                                                   Suite 509
                                                   Augusta, GA 30909
                                                   706−736−3020
                                                   Fax: 706−736−3228
                                                   Email: sheila@wahmanlaw.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Waived or Self (Pro Se)



Plaintiff
USA                                 represented by Tania D. Groover
                                                   U.S. Attorney's Office − Savannah
                                                   P.O. Box 8970

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                                              Savannah, GA 31401
                                              912−201−2552
                                              Fax: 912−652−4388
                                              Email: tania.groover@usdoj.gov
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

                                              Tara M. Lyons
                                              U.S. Attorney's Office, SDGA
                                              600 James Brown Blvd, Suite 200
                                              Augusta, GA 30901
                                              706−724−0517
                                              Fax: 706−724−7728
                                              Email: tara.lyons@usdoj.gov
                                              LEAD ATTORNEY
                                              ATTORNEY TO BE NOTICED
                                              Designation: Retained

                                              Bobby L. Christine
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                    INDICTMENT as to Michael Peyton Gunn (1) count(s) 1−4, 5. (pts)
                    (Additional attachment(s) added on 3/5/2020: # 1 Sig Page) (pts). (Entered:
                    03/05/2020)
03/05/2020    3     PENALTY CERTIFICATION by Government as to Michael Peyton Gunn.
                    (pts) (Entered: 03/05/2020)
03/05/2020    6     CJA 20 − TEXT ORDER for Appointment of Attorney Shawn Merzlak as to
                    Michael Peyton Gunn. Signed by Magistrate Judge Brian K. Epps on 3/5/2020.
                    (cjc) (Entered: 03/09/2020)
03/05/2020    7     Notice to CJA Counsel: CJA Packet attached including Post−Conviction
                    Obligations − CLICK HERE TO READ. (cjc) (Entered: 03/09/2020)
03/09/2020    8     NOTICE OF HEARING as to Michael Peyton Gunn. Initial
                    Appearance/Arraignment set for 3/11/2020 at 10:00 AM in Augusta − 1st
                    Floor before Magistrate Judge Brian K. Epps. (cjc) (Entered: 03/09/2020)
03/11/2020    9     Minute Entry for proceedings held before Magistrate Judge Brian K. Epps:
                    Initial Appearance/Arraignment as to Michael Peyton Gunn held on
                    3/11/2020. Not guilty plea entered as to Counts 1−4,5. Defendant waives
                    detention hearing. Defendant remanded to custody of USMS pending trial.
                    (Court Reporter FTR.) (Attachments: # 1 Plea Sheet) (cjc) (Entered:
                    03/11/2020)
03/11/2020   10     SCHEDULING ORDER − Ends of Justice Finding. Upon motion of counsel
                    for the Defendant the Court finds that the ends of justice in granting an
                    extension of time to prepare motions outweigh the best interest of the public
                    and defendant in a speedy trial. Pretrial motions are to be filed within 42 days
                    of the date of the arraignment held on 03/11/2020. The speedy trial clock is
                    tolled during the period of this extension. Counsel shall file a separate motion
                    for each relief sought and not file a consolidate motion. Motions due by
                    4/22/2020. Signed by Magistrate Judge Brian K. Epps on 03/11/2020. (thb)
                    (Entered: 03/11/2020)
03/11/2020   11     MOTION for Reciprocal Discovery by Tara M. Lyons as to Michael Peyton
                    Gunn. Responses due by 3/25/2020. (Lyons, Tara) (Entered: 03/11/2020)
03/11/2020   12     MOTION for Handwriting Exemplars by Tara M. Lyons as to Michael Peyton
                    Gunn. Responses due by 3/25/2020. (Attachments: # 1 Text of Proposed
                    Order)(Lyons, Tara) (Entered: 03/11/2020)
03/11/2020   13     Amended MOTION for Handwriting Exemplars by Tara M. Lyons as to
                    Michael Peyton Gunn. Responses due by 3/25/2020. (Attachments: # 1 Text of
                    Proposed Order)(Lyons, Tara) (Entered: 03/11/2020)
03/11/2020   14     MOTION for Notice of Alibi Defense Government's First Demand by Tara M.
                    Lyons as to Michael Peyton Gunn. Responses due by 3/25/2020. (Lyons, Tara)
                    (Entered: 03/11/2020)
03/12/2020   15     DETENTION ORDER as to Michael Peyton Gunn. Defendant is committed to
                    custody. Signed by Magistrate Judge Brian K. Epps on 03/12/2020. (thb)
                    (Entered: 03/12/2020)
03/12/2020          MOTIONS as to Michael Peyton Gunn REFERRED to Magistrate Judge: 11
                    MOTION for Reciprocal Discovery , 12 MOTION for Handwriting Exemplars


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                    , 13 Amended MOTION for Handwriting Exemplars , 14 MOTION for Notice
                    of Alibi Defense Government's First Demand. (thb) (Entered: 03/12/2020)
03/13/2020   17     ORDER granting in part 16 Sealed Motion as to Michael Peyton Gunn (1).
                    Signed by Magistrate Judge Brian K. Epps on 03/13/2020. (maa) (Entered:
                    03/13/2020)
03/13/2020   20     REDACTION to 18 Application for Search Warrant filed by USA as to
                    Michael Peyton Gunn. (Attachments: # 1 Redacted Affidavit)(maa) (Entered:
                    03/13/2020)
03/18/2020   21     Order (Ends of Justice finding pursuant to Standing Order in MC120−04). The
                    period of delay resulting from this extension − March 17, 2020, through and
                    including April 17, 2020 is excluded in computing the time within which the
                    trial of this matter may commence. Signed by Chief Judge J. Randal Hall on
                    3/17/2020. (pts) (Entered: 03/18/2020)
04/16/2020   22     Order (Ends of Justice finding pursuant to Standing Order in MC120−008).
                    The period of delay resulting from this extension − April 17, 2020, through
                    and including May 31, 2020 is excluded in computing the time within which
                    the trial of this matter may commence. Signed by Chief Judge J. Randal Hall
                    on 4/16/2020. (pts) (Entered: 04/16/2020)
04/28/2020   23     Search Warrant Returned Executed on 03/19/2020 in case as to Michael
                    Peyton Gunn. (thb) (Entered: 04/28/2020)
04/30/2020   24     ORDER as to Michael Peyton Gunn. The Court directs defense counsel and
                    the government to file a joint status report by May 7, 2020, that states whether
                    all pretrial motions have been satisfied or otherwise resolved. Joint Status
                    Report due by 5/7/2020. Signed by Magistrate Judge Brian K. Epps on
                    04/30/2020. (thb) (Entered: 04/30/2020)
05/08/2020   25     STATUS REPORT Joint by USA as to Michael Peyton Gunn (Lyons, Tara)
                    (Entered: 05/08/2020)
05/12/2020   26     NOTICE OF HEARING ON MOTIONS BY ELECTRONIC MEANS in case
                    as to Michael Peyton Gunn re 13 Amended MOTION for Handwriting
                    Exemplars, 14 MOTION for Notice of Alibi Defense Government's First
                    Demand, and 12 MOTION for Handwriting Exemplars . Motion Hearing set
                    for 5/15/2020 02:00 PM in AUG−MagVTC before Magistrate Judge Brian K.
                    Epps. Counsel will receive dial in instructions by email. For public access to
                    this hearing, please dial 888−273−3658, enter the call access code: 3971357
                    and then the hearing security code: 1234. (cjc) (Entered: 05/12/2020)
05/12/2020   27     ORDER FOR HEARING BY ELECTRONIC MEANS as to Michael Peyton
                    Gunn. Upon consent of Defendant, the Court will hold the motion hearing via
                    electronic means. Compliance due by 5/19/2020. Signed by Magistrate Judge
                    Brian K. Epps on 05/12/2020. (Attachments: # 1 Defendant's Statement) (thb)
                    (Entered: 05/12/2020)
05/13/2020   28     DEFENDANT'S STATEMENT regarding appearance via Electronic Means
                    by Michael Peyton Gunn. Defendant does not consent to appearing via
                    electronic means for the Motion Hearing hearing. (Merzlak, Shawn) (Entered:
                    05/13/2020)
05/13/2020   29

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                    REPLY TO RESPONSE to Motion by Michael Peyton Gunn re 11 MOTION
                    for Reciprocal Discovery (Merzlak, Shawn) (Entered: 05/13/2020)
05/13/2020   30     REPLY TO RESPONSE to Motion by Michael Peyton Gunn re 14 MOTION
                    for Notice of Alibi Defense Government's First Demand (Merzlak, Shawn)
                    (Entered: 05/13/2020)
05/13/2020   31     RESPONSE in Opposition by Michael Peyton Gunn re 12 MOTION for
                    Handwriting Exemplars , 13 Amended MOTION for Handwriting Exemplars
                    (Merzlak, Shawn) (Entered: 05/13/2020)
05/13/2020          Terminate Deadlines as to Michael Peyton Gunn. (thb) (Entered: 05/13/2020)
05/13/2020   32     AMENDED/CORRECTED DEFENDANT'S STATEMENT regarding
                    appearance via Electronic Means by Michael Peyton Gunn. Defendant does
                    not consent to appearing via electronic means for the Motion Hearing hearing.
                    (Merzlak, Shawn) Modified on 5/13/2020 (pts). (Entered: 05/13/2020)
05/13/2020          The Motion hearing set for 5/15/2020 at 2:00 PM is CANCELLED because
                    Defendant refuses to consent to the hearing being held by electronic means 32
                    . Signed by Magistrate Judge Brian K. Epps on 5/13/2020. (cjc) (Entered:
                    05/13/2020)
05/22/2020   33     ORDER (Ends of Justice finding pursuant to Standing Order in MC 120−012).
                    The period of delay resulting from this extension − June 1, 2020 through and
                    including June 30, 2020 − is excluded in computing the time within which the
                    trial of this matter may commence as to Michael Peyton Gunn. Signed by
                    Chief Judge J. Randal Hall on 05/21/2020. (jlh) (Entered: 05/22/2020)
06/04/2020   34     ORDER granting 11 Motion for Reciprocal Discovery; finding as moot 12
                    Motion for Handwriting Exemplars; granting 13 Motion for Handwriting
                    Exemplars; granting 14 Motion for Notice of Alibi Defense as to Michael
                    Peyton Gunn (1). Signed by Magistrate Judge Brian K. Epps on 06/04/2020.
                    (thb) (Entered: 06/04/2020)
06/07/2020   35     MOTION for Leave to File Late Pre−Trial Motion by Tara M. Lyons as to
                    Michael Peyton Gunn. Responses due by 6/21/2020. (Lyons, Tara) (Entered:
                    06/07/2020)
06/07/2020   36     MOTION to Amend/Correct 2 Indictment by Tara M. Lyons as to Michael
                    Peyton Gunn. Responses due by 6/21/2020. (Attachments: # 1 Exhibit Ex A, #
                    2 Exhibit Ex B, # 3 Text of Proposed Order)(Lyons, Tara) (Entered:
                    06/07/2020)
06/08/2020          MOTIONS as to Michael Peyton Gunn REFERRED to Magistrate Judge: 36
                    MOTION to Amend/Correct 2 Indictment, 35 MOTION for Leave to File Late
                    Pre−Trial Motion. (thb) (Entered: 06/08/2020)
06/10/2020   37     NOTICE of Withdrawal by USA re 14 MOTION for Notice of Alibi Defense
                    Government's First Demand (Lyons, Tara) (Entered: 06/10/2020)
06/16/2020   38     ORDER granting 35 Motion for Leave to File as to Michael Peyton Gunn (1);
                    granting 36 Motion to Amend/Correct as to Michael Peyton Gunn (1). The
                    government shall file a corrected indictment that fixes the scrivener's error as a
                    stand−alone entry on the docket within seven days of this Order. Signed by
                    Magistrate Judge Brian K. Epps on 06/16/2020. (maa) Modified on 6/16/2020


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                    (jlh). (Entered: 06/16/2020)
06/16/2020          Set/Reset Deadlines as to Michael Peyton Gunn: Compliance due by
                    6/23/2020. (maa) (Entered: 06/16/2020)
06/17/2020   39     NOTICE of Intent to Introduce Other Act Evidence by USA. (Lyons, Tara)
                    Modified on 6/18/2020 (jlh). (Entered: 06/17/2020)
06/18/2020   40     MOTION for Leave to File Late Pretrial Motion by Tara M. Lyons as to
                    Michael Peyton Gunn. Responses due by 7/2/2020. (Lyons, Tara) (Entered:
                    06/18/2020)
06/18/2020   41     AMENDED INDICTMENT by USA. (Lyons, Tara) Modified on 6/18/2020
                    (pts). (Entered: 06/18/2020)
06/18/2020          MOTIONS as to Michael Peyton Gunn REFERRED to Magistrate Judge: 40
                    MOTION for Leave to File Late Pretrial Motion. (pts) (Entered: 06/18/2020)
06/26/2020          Terminate Deadlines as to Michael Peyton Gunn. (thb) (Entered: 06/26/2020)
06/26/2020   42     ORDER (Ends of Justice finding pursuant to Standing Order in MC 120−015).
                    The period of delay resulting from this extension − July 1, 2020 through and
                    including July 31, 2020 − is excluded in computing the time within which the
                    trial of this matter may commence. Signed by Chief Judge J. Randal Hall on
                    6/26/20. (cmr) (Entered: 06/26/2020)
07/14/2020   43     ORDER granting 40 Motion for Leave to File as to Michael Peyton Gunn (1).
                    Signed by Magistrate Judge Brian K. Epps on 07/14/2020. (thb) (Entered:
                    07/14/2020)
07/16/2020   44     ***Entered in Error*** Modified on 7/16/2020 (pts). (Entered: 07/16/2020)
07/28/2020   45     ORDER TO CONTINUE − (Ends of Justice finding pursuant to Standing
                    Order in MC 120−018). The period of delay resulting from this extension
                    August 1, 2020 through and including September 30, 2020 − is excluded in
                    computing the time within which the trial of this matter may commence.
                    Signed by Chief Judge J. Randal Hall on 7/28/20. (cmr) (Entered: 07/28/2020)
09/24/2020   46     ORDER (Ends of Justice finding pursuant to Standing Order in MC120−020).
                    The period of delay resulting from this extension − October 1, 2020, through
                    and including November 30, 2020 − is excluded in computing the time within
                    which the trial of this matter may commence. Signed by Chief Judge J. Randal
                    Hall on 09/24/2020. (thb) (Entered: 09/24/2020)
09/25/2020   47     MOTION for Leave of Absence as to Michael Peyton Gunn for dates of :
                    10/1−10/2, 10/9, 10/15−10−16, 11/2, 11/5−11/9. Responses due by 10/9/2020.
                    (Merzlak, Shawn) (Entered: 09/25/2020)
11/11/2020   48     STANDING ORDER MC120−21 in re The National Emergency Declared on
                    March 13, 2020: Second Renewal of CARES Act Order. The authorizations
                    contained in the Court's March 30, 2020 General Order MC120−05, and
                    renewed on June 20, 2020 (MC120−014) are hereby renewed. This authority is
                    effective for ninety days unless otherwise ordered. Signed by Chief Judge J.
                    Randal Hall on September 24, 2020. (en) (Entered: 11/11/2020)
11/30/2020   51     ORDER (Ends of Justice finding pursuant to Standing Order in MC120−027).
                    The period of delay resulting from this extension − December 1, 2020, through

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                    and including January 31, 2021 − is excluded in computing the time within
                    which the trial of this matter may commence. Signed by Chief Judge J. Randal
                    Hall on 11/30/2020. (maa) (Entered: 12/01/2020)
12/18/2020    60    First MOTION for Leave of Absence as to Michael Peyton Gunn for dates of :
                    12/28/2020, 1/142021−1/19/2021, 2/11/2021−2/12/2021, 4/5/2021−4/12/2021,
                    4/29/2021−4/30/2021, 7/23/2021−8/2/2021, 11/4/2021−11/8/2021. Responses
                    due by 1/1/2021. (Merzlak, Shawn) (Entered: 12/18/2020)
12/21/2020    65    ORDER granting 60 Motion for Leave of Absence as to Michael Peyton Gunn
                    (1) for Shawn M. Merzlak for the following periods: December 28, 2020;
                    January 14, 2021 through January 19, 2021; February 11, 2021 through
                    February 12, 2021; April 5, 2021 through April 12, 2021; April 29, 2021
                    through April 30, 2021; July 23, 2021 through August 2, 2021; November 4,
                    2021 through November 8, 2021. Signed by Chief Judge J. Randal Hall on
                    12/21/2020. (thb) (Entered: 12/21/2020)
12/22/2020    70    NOTICE OF STANDING ORDER MC120−29 in re The National Emergency
                    Declared on March 13, 2020: Third Renewal of the CARES Act Order. The
                    authorizations contained in the Court's March 30, 2020 General Order
                    (MC120−005), and renewed on June 20, 2020 (MC120−014) and September
                    24, 2020 (MC120−021) are hereby renewed. This authority is effective for
                    ninety days unless otherwise ordered.Signed by Chief Judge J. Randal Hall on
                    12/21/20. (cmr) (Entered: 12/22/2020)
02/01/2021   129    ORDER (Ends of Justice finding pursuant to Standing Order in MC121−004).
                    The period of delay resulting from this extension February 1, 2021, through
                    and including March 31, 2021 − is excluded in computing the time within
                    which the trial of this matter may commence. Signed by Chief Judge J. Randal
                    Hall on 02/01/2021. (thb) (Entered: 02/01/2021)
03/03/2021   151    SEALED MOTION by USA. REFERRED to Judge Brian K. Epps.(pts)
                    (Entered: 03/09/2021)
03/03/2021   152    ORDER granting 151 Sealed Motion as to Michael Peyton Gunn (1), Amanda
                    Gunn (2). Signed by Magistrate Judge Brian K. Epps on 3/3/2021. (pts)
                    (Entered: 03/09/2021)
03/03/2021   153    SEALED SUPERSEDING INDICTMENT as to Michael Peyton Gunn (1)
                    count(s) 1s, 2s, 3s, 4s−7s, 8s, 9s, Amanda Gunn (2) count(s) 1, 9.
                    (Attachments: # 1 Sig Page) (pts) (Entered: 03/09/2021)
03/03/2021   154    SUPERSEDING PENALTY CERTIFICATION by Government as to All
                    Defendants. (pts) (Entered: 03/09/2021)
03/09/2021   157    MOTION to Unseal Indictment and related papers by USA. REFERRED to
                    Judge Brian K. Epps.(pts) (Entered: 03/09/2021)
03/09/2021   158    ORDER granting 157 Motion to Unseal Case as to Michael Peyton Gunn (1),
                    Amanda Gunn (2). Signed by Magistrate Judge Brian K. Epps on 3/9/2021.
                    (pts) (Entered: 03/09/2021)
03/10/2021   166    NOTICE OF HEARING BY ELECTRONIC MEANS as to Michael Peyton
                    Gunn. Initial Appearance/Arraignment−superseding indictment set for
                    3/11/2021 at 01:00 PM in AUG−MagVTC before Magistrate Judge Brian K.
                    Epps. Counsel will receive dial in instructions by email. For public access to

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                    this hearing, please dial 888−273−3658, enter the call access code: 3971357
                    and then the hearing security code: 1234.(cjc) (Entered: 03/10/2021)
03/10/2021   167    DEFENDANT'S STATEMENT regarding appearance via Electronic Means
                    by Michael Peyton Gunn, Amanda Gunn. Defendant consents to appearing via
                    electronic means for the Initial Appearance/Arraignment hearing. (Merzlak,
                    Shawn) (Entered: 03/10/2021)
03/11/2021          Set/Reset Hearings as to Michael Peyton Gunn: Initial
                    Appearance/Arraignment−superseding indictment has been RESCHEDULED
                    for 3/12/2021 at 10:30 AM in AUG−MagVTC before Magistrate Judge Brian
                    K. Epps. Counsel will receive dial in instructions by email. For public access
                    to this hearing, please dial 888−273−3658, enter the call access code: 3971357
                    and then the hearing security code: 1234. (cjc) (Entered: 03/11/2021)
03/12/2021   173    Minute Entry for proceedings held by electronic means before Magistrate
                    Judge Brian K. Epps: Initial Appearance/Arraignment − superseding
                    indictment as to Michael Peyton Gunn held by video teleconference on
                    3/12/2021. Defendant consents to proceed by video teleconference. Not guilty
                    plea entered as to Counts 1s, 1−4, 2s, 3s, 4s−7s, 5, 8s, 9s. Defendant remanded
                    to custody of USMS pending trial. (Court Reporter FTR.) (cjc) (Entered:
                    03/12/2021)
03/15/2021   174    SCHEDULING ORDER granting an extension of time to file pretrial motions
                    as to Michael Peyton Gunn, Amanda Gunn. Motions due by 5/10/2021.
                    Counsel shall file a separate motion for each relief sought and not file a
                    consolidated motion. The period of delay resulting from this extension −
                    March 9, 2021, through and including May 10, 2021 − is excluded in
                    computing the time within which the trial of this matter may commence.
                    ORDER re Federal Rule of Criminal Procedure 5(f)(1) confirming the
                    disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83
                    (1963) and its progeny. Signed by Magistrate Judge Brian K. Epps on
                    3/15/2021. (maa) (Entered: 03/15/2021)
03/18/2021   176    MOTION Appointment of Guardian Ad Litem for Minor Victim One by Tara
                    M. Lyons as to Michael Peyton Gunn, Amanda Gunn. Responses due by
                    4/1/2021. (Attachments: # 1 Text of Proposed Order)(Lyons, Tara) (Entered:
                    03/18/2021)
03/18/2021   180    NOTICE OF STANDING ORDER MC121−10 in re The National Emergency
                    Declared on March 13, 2020: Fourth Renewal of the CARES Act Order. The
                    authorizations contained in the Court's March 30, 2020 General Order
                    (MC120−005), and renewed on June 20, 2020 (MC120−014), September 24,
                    2020 (MC120−021) and December 21, 2020 (MC120−029) are hereby
                    renewed. This authority is effective for ninety days unless otherwise
                    ordered.Signed by Chief Judge J. Randal Hall on 3/18/2021. (pts) (Entered:
                    03/23/2021)
03/19/2021          MOTIONS as to Michael Peyton Gunn, Amanda Gunn REFERRED to
                    Magistrate Judge: 176 MOTION Appointment of Guardian Ad Litem for
                    Minor Victim One. (JH) (Entered: 03/19/2021)
03/19/2021   177    MOTION for Leave of Absence as to USA for dates of : June 19, 2021
                    through July 3, 2021 and July 18, 2021 through July 24, 2021 by on behalf of
                    USA. Responses due by 4/2/2021. (Attachments: # 1 Text of Proposed

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                   Order)(Lyons, Tara) (Entered: 03/19/2021)
03/19/2021         MOTIONS as to Michael Peyton Gunn, Amanda Gunn REFERRED to
                   Magistrate Judge: 176 MOTION Appointment of Guardian Ad Litem for
                   Minor Victim One, 177 MOTION for Leave of Absence as to USA for dates of
                   : June 19, 2021 through July 3, 2021 and July 18, 2021 through July 24, 2021.
                   (cmr) (Entered: 03/19/2021)
03/22/2021         Motions No Longer Referred as to Michael Peyton Gunn, Amanda Gunn: 177
                   MOTION for Leave of Absence as to USA for dates of : June 19, 2021
                   through July 3, 2021 and July 18, 2021 through July 24, 2021. (pts) (Entered:
                   03/22/2021)
03/22/2021   178   ORDER denying 176 Motion as to Michael Peyton Gunn (1), Amanda Gunn
                   (2). Signed by Magistrate Judge Brian K. Epps on 3/22/21. (wwp) (Entered:
                   03/22/2021)
03/22/2021   179   ORDER granting 177 Motion for Leave of Absence for AUSA Tara M. Lyons
                   as to Michael Peyton Gunn (1) and Amanda Gunn (2) for the following
                   periods: June 19, 2021 through July 3, 2021 and July 18, 2021 through July
                   24, 2021. Signed by Chief Judge J. Randal Hall on 03/22/2021. (jlh) (Entered:
                   03/22/2021)
03/31/2021   181   MOTION Appointment of a GAL by Tara M. Lyons as to Michael Peyton
                   Gunn, Amanda Gunn. Responses due by 4/14/2021. (Attachments: # 1 Text of
                   Proposed Order)(Lyons, Tara) (Entered: 03/31/2021)
03/31/2021         MOTIONS as to Michael Peyton Gunn, Amanda Gunn REFERRED to
                   Magistrate Judge: 181 MOTION Appointment of a GAL. (thb) (Entered:
                   03/31/2021)
03/31/2021         MOTIONS as to Michael Peyton Gunn REFERRED to Magistrate Judge: 181
                   MOTION Appointment of a GAL . (cmr) (Entered: 03/31/2021)
03/31/2021   182   ORDER (Ends of Justice finding pursuant to Standing Order in MC 121−014).
                   The period of delay resulting from this extension − April 1, 2021 through and
                   including May 31, 2021 − is excluded in computing the time within which the
                   trial of this matter may commence as to Michael Peyton Gunn and Amanda
                   Gunn. Signed by Chief Judge J. Randal Hall on 03/31/2021. (jlh) (Entered:
                   04/01/2021)
04/01/2021   183   ORDER granting 181 Motion to appoint Sheila Wahman guardian ad litem as
                   to Michael Peyton Gunn (1), Amanda Gunn (2). Signed by Magistrate Judge
                   Brian K. Epps on 4/1/21. (wwp) (Entered: 04/01/2021)
04/03/2021   184   Consent MOTION to Amend/Correct 154 Penalty Certification, 153
                   Indictment (Sealed) by Tara M. Lyons as to Michael Peyton Gunn, Amanda
                   Gunn. Responses due by 4/17/2021. (Attachments: # 1 Exhibit A, # 2 Exhibit
                   B, # 3 Text of Proposed Order)(Lyons, Tara) Modified on 4/5/2021 (thb).
                   (Entered: 04/03/2021)
04/05/2021         MOTIONS as to Michael Peyton Gunn, Amanda Gunn REFERRED to
                   Magistrate Judge: 184 Consent MOTION to Amend/Correct 154 Penalty
                   Certification, 153 Indictment (Sealed). (thb) (Entered: 04/05/2021)
04/13/2021   185


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                   ORDER granting the Government's 184 Motion to Amend Defendant's Name
                   and Court Documents as to Michael Peyton Gunn (1), Amanda Gunn (2). The
                   Court directs the Clerk to update Defendant Amanda Gunn's name on the
                   docket as it appears on the caption of this Order. Signed by Judge Brian K.
                   Epps on 4/13/2021. (ca) Modified on 4/13/2021 (ca). (Entered: 04/13/2021)
04/13/2021         Set/Reset Deadlines as to Michael Peyton Gunn, Amanda Gunn: Compliance
                   due by 4/20/2021. (thb) (Entered: 04/13/2021)
04/14/2021   186   AMENDED INDICTMENT by USA as to Michael Peyton Gunn, Amanda
                   Gunn. (pts) (Entered: 04/14/2021)
04/14/2021   187   AMENDED PENALTY CERTIFICATION by Government as to All
                   Defendants. (pts) (Entered: 04/14/2021)
04/14/2021         Terminate Deadlines as to Michael Peyton Gunn, Amanda Gunn. (pts)
                   (Entered: 04/14/2021)
04/15/2021   188   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Exhibit A (Index))(Lyons, Tara) (Entered:
                   04/15/2021)
04/20/2021   189   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 (Exhibit A) Index)(Lyons, Tara) (Entered:
                   04/20/2021)
05/11/2021   199   ORDER granting 190 Motion for Extension of Time as to Amanda Gunn (2).
                   The Court will apply the extension to both Defendants. Pretrial motions due by
                   05/24/2021. The period of delay resulting from this extension has already been
                   excluded in computing the time within which the trial of this matter must
                   commence. Signed by Magistrate Judge Brian K. Epps on 05/11/2021. (jlh)
                   (Entered: 05/11/2021)
05/11/2021         Set/Reset Deadlines as to Michael Peyton Gunn and Amanda Gunn: Motions
                   due by 5/24/2021. (jlh) (Entered: 05/11/2021)
06/02/2021   203   ORDER: Before the Court are various pretrial discovery motions as to
                   Michael Peyton Gunn, Amanda Gunn. The Court directs defense counsel and
                   the government to file a joint status report by June 9, 2021. (Status Report due
                   by 6/9/2021.) Signed by Magistrate Judge Brian K. Epps on 6/2/2021. (ca)
                   (Entered: 06/02/2021)
06/09/2021   204   STATUS REPORT Joint Status Report by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Lyons, Tara) (Entered: 06/09/2021)
07/13/2021   207   NOTICE OF HEARING as to Michael Peyton Gunn, Amanda Gunn. Jury
                   Selection and Trial set for 8/30/2021 09:00 AM in Augusta − 2nd Floor before
                   Chief Judge J. Randal Hall. (lcw) (Entered: 07/13/2021)
07/13/2021   208   NOTICE OF HEARING as to Michael Peyton Gunn, Amanda Gunn. Pretrial
                   Conference set for 8/26/2021 10:00 AM in Augusta − 2nd Floor before Chief
                   Judge J. Randal Hall. Proposed voir dire and requests to charge are due seven
                   (7) days prior to pretrial conference.(lcw) (Entered: 07/13/2021)
07/15/2021   209   Joint MOTION to Continue JURY SELECTION & TRIAL by Tara M. Lyons
                   as to Michael Peyton Gunn, Amanda Gunn. Responses due by 7/29/2021.


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                   (Attachments: # 1 Proposed Order)(Lyons, Tara) (Entered: 07/15/2021)
07/16/2021   210   ORDER granting 209 Motion to Continue as to Michael Peyton Gunn (1),
                   Amanda Gunn (2). Jury Selection and Trial are continued until Monday,
                   November 15, 2021, at 9:00a.m. The time between the making of the motion
                   and the new hearing date are excluded from time calculation under the Speedy
                   Trial Act. Signed by Chief Judge J. Randal Hall on 7/16/2021. (pts) (Entered:
                   07/16/2021)
07/16/2021         Set/Reset Hearings as to Michael Peyton Gunn, Amanda Gunn: Jury Selection
                   and Trial set for 11/15/2021 09:00 AM in Augusta − 2nd Floor before Chief
                   Judge J. Randal Hall. (pts) (Entered: 07/16/2021)
07/16/2021         Terminate Deadline for Jury Selection set for 8/30/21 as to Michael Peyton
                   Gunn, Amanda Gunn. (slt) (Entered: 07/16/2021)
08/09/2021         NOTICE OF STANDING ORDER MC121−23 in re The National Emergency
                   Declared on March 13, 2020: Fifth Renewal of the CARES Act Order. The
                   authorizations contained in the Court's March 30, 2020 General Order
                   (MC120−005), and renewed on June 20, 2020 (MC120−014), September 24,
                   2020 (MC120−021), December 21, 2020 (MC120−029), and March 18, 2021
                   (MC121−10) are hereby renewed. This authority is effective for ninety days
                   unless otherwise ordered. (Click Here to View)Signed by Chief Judge J.
                   Randal Hall on 8/6/2021. (pts) (Entered: 08/09/2021)
09/13/2021   211   NOTICE of Expert Testimony by USA (Lyons, Tara) (Entered: 09/13/2021)
09/13/2021   212   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   09/13/2021)
09/14/2021   213   NOTICE OF HEARING as to Michael Peyton Gunn, Amanda Gunn. Pretrial
                   Conference set for 11/4/2021 10:00 AM in Augusta − 2nd Floor before Chief
                   Judge J. Randal Hall. (lcw) (Entered: 09/14/2021)
09/23/2021   218   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   09/23/2021)
09/27/2021   219   MOTION for Disclosure by USA. REFERRED to Judge Brian K. Epps.(pts)
                   (Entered: 09/27/2021)
09/27/2021   220   ORDER granting 219 Motion for Disclosure as to Michael Peyton Gunn (1),
                   Amanda Gunn (2). Signed by Magistrate Judge Brian K. Epps on 9/27/2021.
                   (pts) (Entered: 09/27/2021)
10/07/2021   221   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   10/07/2021)
10/08/2021   222   ******* MOTION to Accommodate and Protect Child Witness by Tara M.
                   Lyons as to Michael Peyton Gunn, Amanda Gunn. Responses due by
                   10/22/2021. (Lyons, Tara) (Entered: 10/08/2021)
10/09/2021   223   Proposed Voir Dire by USA as to Michael Peyton Gunn, Amanda Gunn
                   (Lyons, Tara) (Entered: 10/09/2021)


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10/20/2021   224   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   10/20/2021)
10/25/2021   225   Proposed Voir Dire by Michael Peyton Gunn as to Michael Peyton Gunn,
                   Amanda Gunn (Merzlak, Shawn) (Entered: 10/25/2021)
10/29/2021   226   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   10/29/2021)
10/29/2021   227   Request to Charge by USA as to Michael Peyton Gunn, Amanda Gunn
                   (Lyons, Tara) (Entered: 10/29/2021)
11/04/2021         Minute Entry for proceedings held before Chief Judge J. Randal Hall: Pretrial
                   Conference as to Michael Peyton Gunn, Amanda Gunn held on 11/4/2021.
                   (Court Reporter Lisa Davenport.) (lcw) (Entered: 11/19/2021)
11/05/2021   235   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   11/05/2021)
11/06/2021   236   MOTION PROVIDE TWO−WAY CLOSED−CIRCUIT TESTIMONY FOR
                   THE MINOR VICTIM by Tara M. Lyons as to Michael Peyton Gunn.
                   Responses due by 11/20/2021. (Attachments: # 1 Text of Proposed
                   Order)(Lyons, Tara) (Entered: 11/06/2021)
11/07/2021   237   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   11/07/2021)
11/08/2021   238   Request to Charge by Michael Peyton Gunn (Merzlak, Shawn) (Entered:
                   11/08/2021)
11/10/2021   239   CERTIFICATE OF DISCLOSURE by USA as to Michael Peyton Gunn,
                   Amanda Gunn (Attachments: # 1 Index − Exhibit A)(Lyons, Tara) (Entered:
                   11/10/2021)
11/15/2021         Minute Entry for proceedings held before Chief Judge J. Randal Hall: Voir
                   Dire begun on 11/15/2021 Michael Peyton Gunn (1) on Count
                   1s,2s,3s,4s−7s,8s,9s (Court Reporter Lisa Davenport.) (lcw) (Entered:
                   11/19/2021)
11/15/2021   241   Minute Entry for proceedings held before Chief Judge J. Randal Hall: Voir
                   Dire held on 11/15/2021 as to Michael Peyton Gunn, Jury Selection as to
                   Michael Peyton Gunn held on 11/15/2021, Jury Trial as to Michael Peyton
                   Gunn held on 11/15/2021 (Court Reporter Lisa Davenport.) (lcw) (Entered:
                   11/19/2021)
11/16/2021   242   Minute Entry for proceedings held before Chief Judge J. Randal Hall: Jury
                   Trial as to Michael Peyton Gunn held on 11/16/2021 (Court Reporter Lisa
                   Davenport.) (lcw) (Entered: 11/19/2021)
11/17/2021   243   Minute Entry for proceedings held before Chief Judge J. Randal Hall: Jury
                   Trial as to Michael Peyton Gunn held on 11/17/2021 (Court Reporter Lisa
                   Davenport.) (lcw) (Entered: 11/19/2021)


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11/18/2021   240   ORDER extending the term of service for the jurors who sat in this matter,
                   including alternate jurors, until May 18, 2022 as to Michael Peyton Gunn.
                   Signed by Chief Judge J. Randal Hall on 11/18/2021. (maa) (Entered:
                   11/18/2021)
11/18/2021   244   Minute Entry for proceedings held before Chief Judge J. Randal Hall: Jury
                   Trial as to Michael Peyton Gunn held on 11/18/2021. Jury returns verdict of
                   Guilty on all Counts. Def is remanded to custody of USMS pending
                   sentencing. (Court Reporter Lisa Davenport.) (lcw) (Entered: 11/19/2021)
11/19/2021   245   Jury List as to Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   246   Jury Strike Sheet as to Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   247   Jury Impaneled as to Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   248   WITNESS LIST by USA as to Michael Peyton Gunn (lcw) (Entered:
                   11/19/2021)
11/19/2021   249   EXHIBIT LIST by USA as to Michael Peyton Gunn (lcw) (Entered:
                   11/19/2021)
11/19/2021   250   EXHIBIT LIST by Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   251   EXHIBIT RECORD as to Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   252   Jury Charges as to Michael Peyton Gunn (lcw) (Entered: 11/19/2021)
11/19/2021   254   JURY VERDICT as to Michael Peyton Gunn (1) Guilty on Count
                   1s,2s,3s,4s−7s,8s,9s. (lcw) (Additional attachment(s) added on 11/19/2021: #
                   1 Supplement Unredacted) (lcw). (Entered: 11/19/2021)
11/19/2021   255   Jury Note and Response as to Michael Peyton Gunn (lcw) (Entered:
                   11/19/2021)
11/30/2021   256   ******* MOTION for Acquittal , or in the Alternative, MOTION for New
                   Trial by Shawn M. Merzlak as to Michael Peyton Gunn. Responses due by
                   12/14/2021. (Merzlak, Shawn) (Entered: 11/30/2021)
12/14/2021   257   MOTION for Extension of Time to File Response/Reply as to 256 MOTION
                   for Acquittal , or in the Alternative MOTION for New Trial by Tara M. Lyons
                   as to Michael Peyton Gunn. Responses due by 12/28/2021. (Attachments: # 1
                   Text of Proposed Order)(Lyons, Tara) (Entered: 12/14/2021)
12/20/2021         NOTICE OF STANDING ORDER MC121−27 in re The National Emergency
                   Declared on March 13, 2020: Sixth Renewal of the CARES Act Order. The
                   authorizations contained in the Court's March 30, 2020 General Order
                   (MC120−005), and renewed on June 20, 2020 (MC120−014), September 24,
                   2020 (MC120−021), December 21, 2020 (MC120−029), March 18, 2021
                   (MC121−10), and June 17, 2021 (MC121−23) are hereby renewed. This
                   authority is effective for ninety days unless otherwise ordered. (Click Here to
                   View)Signed by Chief Judge J. Randal Hall on 9/14/2021. (pts) (Entered:
                   12/20/2021)
12/21/2021         NOTICE OF STANDING ORDER MC121−35 in re The National Emergency
                   Declared on March 13, 2020: Seventh Renewal of the CARES Act Order. The
                   authorizations contained in the Court's March 30, 2020 General Order


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                   (MC120−005), and renewed on June 20, 2020 (MC120−014), September 24,
                   2020 (MC120−021), December 21, 2020 (MC120−029), March 18, 2021
                   (MC121−10), June 17, 2021 (MC121−23), and September 14, 2021
                   (MC121−27) are hereby renewed. This authority is effective for ninety days
                   unless otherwise ordered. (Click Here to View)Signed by Chief Judge J.
                   Randal Hall on 12/9/2021. (pts) (Entered: 12/21/2021)
12/22/2021   258   ORDER granting 257 Motion for Extension of Time to File Response as to
                   Michael Peyton Gunn (1). The period of delay resulting from this extension −
                   December 14, 2021, through and including December 28, 2021 − is excluded
                   in computing the time within which the trial of this matter may commence.
                   Signed by Chief Judge J. Randal Hall on 12/22/2021. (maa) (Entered:
                   12/22/2021)
12/22/2021         Set/Reset Deadlines re 256 MOTION for Acquittal , or in the Alternative
                   MOTION for New Trial : Responses due by 12/28/2021. (maa) (Entered:
                   12/22/2021)
12/23/2021   259   RESPONSE in Opposition by USA as to Michael Peyton Gunn re 256
                   MOTION for Acquittal , or in the Alternative MOTION for New Trial (Lyons,
                   Tara) (Entered: 12/23/2021)
01/07/2022   260   MOTION FOR PROTECTION DURING CRIMINAL TRIAL by Tara M.
                   Lyons as to Michael Peyton Gunn, Amanda Gunn. Responses due by
                   1/21/2022. (Attachments: # 1 Proposed Order)(Lyons, Tara) (Entered:
                   01/07/2022)
01/12/2022   261   ORDER granting the Government's 260 Motion for Protection during Criminal
                   Trial for dates: January 20, 2022 through and including February 25, 2022, as
                   to Michael Peyton Gunn (1), Amanda Gunn (2). Signed by Chief Judge J.
                   Randal Hall on 1/12/2022. (ca) (Entered: 01/12/2022)
01/27/2022   263   NOTICE GOVERNMENTS REQUEST/MOTION FOR ADDITIONAL TIME
                   TO RESPOND TO PRESENTENCE INVESTIGATION REPORT by USA.
                   (Attachments: # 1 Proposed Order)(Lyons, Tara) Modified on 1/27/2022 (thb).
                   (Entered: 01/27/2022)
01/27/2022   265   NOTICE of Filing Deficiency re 263 Notice, 264 Notice. (thb) (Entered:
                   01/27/2022)
01/27/2022   267   ORDER granting 263 Motion for Extension of Time to File Response/Reply
                   as to Michael Peyton Gunn (1). Government's objections to Presentence
                   Investigation Report due 3/11/2022. Signed by Chief Judge J. Randal Hall on
                   1/27/2022. (pts) (Entered: 01/27/2022)
01/28/2022         Set/Reset Deadlines as to Michael Peyton Gunn: Government's objections to
                   the Presentence Investigation Report due by 3/11/2022. (thb) (Entered:
                   01/28/2022)
02/04/2022   268   MOTION for Protective Order by Tara M. Lyons as to Michael Peyton Gunn,
                   Amanda Gunn. Responses due by 2/18/2022. (Attachments: # 1 Text of
                   Proposed Order)(Lyons, Tara) (Entered: 02/04/2022)
02/04/2022   269   ORDER granting 268 Motion for Leave of Absence for AUSA Tara M. Lyons
                   as to Michael Peyton Gunn (1), Amanda Gunn (2) for the following periods:
                   April 4, 2022 through April 8, 2022. Signed by Chief Judge J. Randal Hall on

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                   02/04/2022. (jlh) (Entered: 02/04/2022)
02/16/2022   270   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of the testimony of
                   Amanda Gunn in jury trial proceedings as to Michael Peyton Gunn held on
                   11/16/2021, before Judge JRH. Court Reporter/Transcriber Lisa Davenport,
                   Telephone number 706−823−6468. Tape Number: FTR. Transcript may be
                   viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                   After that date it may be obtained through PACER. (Transcript Redaction
                   Policy Issued or Click here to view Transcript Redaction Policy) Redaction
                   Request due 3/9/2022. Redacted Transcript Deadline set for 3/19/2022.
                   Release of Transcript Restriction set for 5/17/2022. (Davenport, Lisa)
                   (Entered: 02/16/2022)
02/16/2022   271   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of the testimony of Jill
                   Gunn in jury trial proceedings as to Michael Peyton Gunn held on 11/16/2021,
                   before Judge JRH. Court Reporter/Transcriber Lisa Davenport, Telephone
                   number 706−823−6468. Tape Number: FTR. Transcript may be viewed at the
                   court public terminal or purchased through the Court Reporter/Transcriber
                   before the deadline for Release of Transcript Restriction. After that date it may
                   be obtained through PACER. (Transcript Redaction Policy Issued or Click
                   here to view Transcript Redaction Policy) Redaction Request due 3/9/2022.
                   Redacted Transcript Deadline set for 3/19/2022. Release of Transcript
                   Restriction set for 5/17/2022. (Davenport, Lisa) (Entered: 02/16/2022)
02/16/2022   272   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of the testimony of
                   Michael H. Gunn in jury trial proceedings as to Michael Peyton Gunn held on
                   11/16/2021, before Judge JRH. Court Reporter/Transcriber Lisa Davenport,
                   Telephone number 706−823−6468. Tape Number: FTR. Transcript may be
                   viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                   After that date it may be obtained through PACER. (Transcript Redaction
                   Policy Issued or Click here to view Transcript Redaction Policy) Redaction
                   Request due 3/9/2022. Redacted Transcript Deadline set for 3/19/2022.
                   Release of Transcript Restriction set for 5/17/2022. (Davenport, Lisa)
                   (Entered: 02/16/2022)
02/16/2022   273   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of the testimony of
                   Jonathan Grantham in jury trial proceedings as to Michael Peyton Gunn held
                   on 11/17/2021, before Judge JRH. Court Reporter/Transcriber Lisa Davenport,
                   Telephone number 706−823−6468. Tape Number: FTR. Transcript may be
                   viewed at the court public terminal or purchased through the Court
                   Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                   After that date it may be obtained through PACER. (Transcript Redaction
                   Policy Issued or Click here to view Transcript Redaction Policy) Redaction
                   Request due 3/9/2022. Redacted Transcript Deadline set for 3/19/2022.
                   Release of Transcript Restriction set for 5/17/2022. (Davenport, Lisa)
                   (Entered: 02/16/2022)
02/23/2022   274   ORDER denying Defendant's 256 Motions as to Michael Peyton Gunn (1).
                   Signed by Chief Judge J. Randal Hall on 2/23/2022. (csr) (Entered:
                   02/23/2022)
02/28/2022   275

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                   Initial Presentence Investigation Report as to Michael Peyton Gunn (USPO)
                   (Entered: 02/28/2022)
03/04/2022   276   MOTION for Leave of Absence as to USA for dates of : April 4, 2022 through
                   and including April 8, 2022 and June 13, 2022 through and including June 17,
                   2022 by on behalf of USA. Responses due by 3/18/2022. (Attachments: # 1
                   Proposed Order)(Lyons, Tara) (Entered: 03/04/2022)
03/04/2022   277   ORDER granting 276 Motion for Leave of Absence by Tara Lyons for the
                   dates of April 4, 22 through April 8, 2022 and June 13, 2022 through June 17,
                   2022 as to Michael Peyton Gunn (1), Amanda Gunn (2). Signed by Chief
                   Judge J. Randal Hall on 03/4/2022. (maa) (Entered: 03/04/2022)
03/08/2022   278   MOTION for Leave of Absence as to USA for dates of : May 30, 2022,
                   through and including June 6, 2022 by on behalf of USA. Responses due by
                   3/22/2022. (Attachments: # 1 Proposed Order)(Lyons, Tara) (Entered:
                   03/08/2022)
03/10/2022   279   ORDER granting the Government's 278 Motion for Leave of Absence for
                   dates: May 30, 2022, through June 6, 2022, as to Michael Peyton Gunn (1),
                   Amanda Gunn (2). Signed by Chief Judge J. Randal Hall on 3/10/2022. (ca)
                   (Entered: 03/10/2022)
03/14/2022         NOTICE OF STANDING ORDER MC122−8 in re The National Emergency
                   Declared on March 13, 2020: Eighth Renewal of the CARES Act Order. The
                   authorizations contained in the Court's March 30, 2020 General Order
                   (MC120−005), and renewed on June 20, 2020 (MC120−014), September 24,
                   2020 (MC120−021), December 21, 2020 (MC120−029), March 18, 2021
                   (MC121−10), June 17, 2021 (MC121−23), September 14, 2021 (MC121−27),
                   and December 9, 2021 (MC121−35) are hereby renewed. This authority is
                   effective for ninety days unless otherwise ordered. (Click Here to
                   View)Signed by Chief Judge J. Randal Hall on 3/9/22. (wwp) (Entered:
                   03/14/2022)
03/14/2022         Terminate Compliance Deadline re Government Objections to PSI as to
                   Michael Peyton Gunn. (JH) (Entered: 03/14/2022)
03/23/2022   283   MOTION for Leave of Absence as to USA for dates of : June 27, 2022,
                   through and including July 1, 2022 by on behalf of USA. Responses due by
                   4/6/2022. (Attachments: # 1 Proposed Order)(Lyons, Tara) (Entered:
                   03/23/2022)
03/24/2022   284   ORDER granting re 283 Motion for Leave of Absence for dates of June 27,
                   2022, through and including July 1, 2022 as to Michael Peyton Gunn (1),
                   Amanda Gunn (2). Signed by Chief Judge J. Randal Hall on 3/24/22. (loh)
                   (Entered: 03/24/2022)
04/06/2022   286   Final Presentence Investigation Report as to Michael Peyton Gunn (USPO)
                   (Entered: 04/06/2022)
04/07/2022   287   NOTICE OF HEARING as to Michael Peyton Gunn. Sentencing set for
                   5/10/2022 10:30 AM in Augusta − 2nd Floor before Chief Judge J. Randal
                   Hall. (lcw) (Entered: 04/07/2022)
04/07/2022   289   CORRECTED NOTICE OF HEARING as to Michael Peyton Gunn.
                   Sentencing set for 5/24/2022 10:00 AM in Augusta − 2nd Floor before Chief

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                   Judge J. Randal Hall. (lcw) (Entered: 04/07/2022)
05/24/2022   294   TRIAL EXHIBIT 16 by USA. (lcw) (Entered: 05/24/2022)
05/24/2022   295   TRIAL EXHIBIT 17 by USA. (lcw) (Additional attachment(s) added on
                   5/24/2022: # 1 Exhibit) (lcw). (Entered: 05/24/2022)
05/24/2022   296   TRIAL EXHIBITS 18, 20, and 21 by USA. (Attachments: # 1 Exhibit 20, # 2
                   Exhibit 21)(lcw) (Entered: 05/24/2022)
05/24/2022   297   TRIAL EXHIBIT 22 by USA. (lcw) (Additional attachment(s) added on
                   5/24/2022: # 1 Exhibit) (lcw). (Entered: 05/24/2022)
05/24/2022   298   TRIAL EXHIBITS 23, 24, 25, and 29 by USA. (Attachments: # 1 Exhibit 24,
                   # 2 Exhibit 25, # 3 Exhibit 29)(lcw) (Entered: 05/24/2022)
05/24/2022   299   TRIAL EXHIBIT 30 by USA. (lcw) (Entered: 05/24/2022)
05/24/2022   302   TRIAL EXHIBIT 44 by USA. (Document Restricted) (Attachments: # 1 Part 2
                   of Exhibit, # 2 Part 3 of Exhibit) (maa). (Entered: 05/25/2022)
05/24/2022   304   TRIAL EXHIBIT 44 continued by USA. (Document Restricted)
                   (Attachments: # 1 Part 5 of Exhibit # 2 Part 6 of Exhibit # 3 Part 7 of Exhibit)
                   (maa). (Entered: 05/25/2022)
05/24/2022   305   Minute Entry for proceedings held before Chief Judge J. Randal Hall:
                   Sentencing held on 5/25/2022 for Michael Peyton Gunn (1). As to Count 1s,
                   Def is sentenced to the custody of the BOP for life to be served concurrently to
                   all other counts; supervised release for life to be served concurrently all all
                   other counts; $800,000 restitution; $100 special assessment. As to Count 2s,
                   Def is sentenced to the custody of the BOP for life to be served concurrently
                   with all other counts; supervised release for life to be served concurrently with
                   all other counts; $100 special assessment. As to Count 3s, Def is sentenced to
                   the custody of the BOP for life to be served concurrently with all other counts;
                   supervised release for life for be served concurrently with all other counts;
                   $100 special assessment. As to Counts 4s−7s, Def is sentenced to 30 years
                   custody BOP as to each of counts 4s−7s to be served concurrently; Supervised
                   release for life as to each of counts 4s−7s to be served concurrently; $100
                   special assessment as to each of counts 4s−7s; and $100 AVAA special
                   assessment as to each of counts 4s−7s. As to Count 8s,Def is sentenced to 20
                   years custody BOP to be served concurrently with all other counts; supervised
                   release for life to be served concurrently with all other counts; $100 special
                   assessment; $100 AVAA special assessment. As to Count 9s, Def is sentenced
                   to 25 years custody BOP to be served concurrently with all other counts;
                   supervised release for life to be served concurrently with all other counts; $100
                   special assessment. Counts 1−4, and 5 are DISMISSED. Def is remanded to
                   custody of USMS. (Court Reporter Lisa Davenport.) (lcw) Modified on
                   5/25/2022 (lcw). (Entered: 05/25/2022)
05/25/2022   303   TRIAL EXHIBITS 48, 50 and 60 by USA. (Attachments: # 1 Exhibit 50, # 2
                   Exhibit 60)(lcw) Modified on 5/25/2022 (lcw). (Entered: 05/25/2022)
05/25/2022   309   Restitution/Victim Information as to Michael Peyton Gunn (USPO) (Entered:
                   05/25/2022)
05/25/2022   310


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                   DEFENSE TRIAL EXHIBIT 4 (Document Restricted) (lcw) (Entered:
                   05/25/2022)
05/25/2022   312   Statement of Reasons as to Michael Peyton Gunn (USPO) (Entered:
                   05/25/2022)
05/25/2022   314   JUDGMENT as to Michael Peyton Gunn (1), Count(s) 1−4, 5, DISMISSED;
                   Count(s) 1s, custody of the BOP for life to be served concurrently to all other
                   counts; supervised release for life to be served concurrently all all other
                   counts; $800,000 restitution; $100 special assessment; Count(s) 2s, custody of
                   the BOP for life to be served concurrently with all other counts; supervised
                   release for life to be served concurrently with all other counts; $100 special
                   assessment; Count(s) 3s, custody of the BOP for life to be served concurrently
                   with all other counts; supervised release for life for be served concurrently
                   with all other counts; $100 special assessment; Count(s) 4s−7s, 30 years
                   custody BOP as to each of counts 4s−7s to be served concurrently; Supervised
                   release for life as to each of counts 4s−7s to be served concurrently; $100
                   special assessment as to each of counts 4s−7s; and $100 AVAA special
                   assessment as to each of counts 4s−7s; Count(s) 8s, 20 years custody BOP to
                   be served concurrently with all other counts; supervised release for life to be
                   served concurrently with all other counts; $100 special assessment; $100
                   AVAA special assessment; Count(s) 9s, 25 years custody BOP to be served
                   concurrently with all other counts; supervised release for life to be served
                   concurrently with all other counts; $100 special assessment. Signed by Chief
                   Judge J. Randal Hall on 5/25/2022. (csr) (Entered: 05/25/2022)
06/01/2022   315   Notice of Post−Conviction Consultation Certification (Merzlak, Shawn)
                   (Entered: 06/01/2022)
06/01/2022   316   NOTICE OF APPEAL by Michael Peyton Gunn as to Michael Peyton Gunn,
                   Amanda Gunn re 314 Judgment,,,,, (Merzlak, Shawn) (Entered: 06/01/2022)




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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

UNITED STATES OF AMERICA               )
                                       )
v.                                     )                 Case No.: 1:20-CR-014
                                       )
MICHAEL PEYTON GUNN,                   )
        DEFENDANT.                     )


                             NOTICE OF APPEAL

       Notice is hereby given that Michael Peyton Gunn, Defendant in the above-

captioned case, hereby appeals to the United States Court of Appeals for the

Eleventh Circuit from the Final Judgment in this action entered on May 25, 2022

(ECF No. 314) and from the Order of this court entered on February 23, 2022,

denying Defendant’s Motion for Judgment of Acquittal under Federal Rule of

Criminal Procedure 29, or in the alternative, Motion for New Trial under Federal

Rule of Criminal Procedure 33. (ECF No. 274).

                   Respectfully submitted this 1st day of June, 2022.


                                            /s/ Shawn M. Merzlak
                                            SHAWN M. MERZLAK
                                            GA Bar No. 297965

                                            ATTORNEY FOR DEFENDANT

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HAWK LAW GROUP
338 Telfair Street
Augusta, GA 30909
(706) 444-4444
smerzlak@hawklawgroup.com

                           CERTIFICATE OF SERVICE



      This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.



      This 1st day of June, 2022.

                                              /s/ Shawn M. Merzlak____________
                                              SHAWN M. MERZLAK
                                              Georgia Bar No. 297965

                                              ATTORNEY FOR DEFENDANT

HAWK LAW GROUP
338 Telfair Street
Augusta, Georgia 30901
(706) 444-4444
smerzlak@hawklawgroup.com




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GAS 245B          {Ro\'. 06/21)Jiidgmenl in a Crimina! Case
DC Custody TSR




                                          United States District Court
                                                       SOUTHERN DISTRICT OF GEORGIA
                                                               AUGUSTA DIVISION
                                                                                                           mi 'AY
                                                                                                              I   25 P 3Pib
             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.                                                                  L.., M- CiMMo
                      Michael Peyton Gunn
                                                                                 Case Number:               uiOCROOOH-l"'
                                                                                 USM Number:                23512-021




                                                                                 Shawn M. Merzlak
THE DEFENDANT:                                                                   Defendant's Aiiomey

D pleaded guilty to Counts
□ pleaded nolo contendere to Count(s)                         which was accepted by the court.
Kl was found guilty on Counts Is. 2s. 3s. 4s. 5s. 6s. 7s. 8s. and 9s after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                               Offense Ended           Count

18 U.S.C. i; 1594(c),             Sex trafficking conspiracy                                                    November 30,2019             Is
18 U.S.C. if 1591(a),
18 U.S.C. § 1591(b)(1)

                                  See additional counts on page 2

       The defendant is sentenced as provided in pages 2 through           ,8        of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

□ The defendant has been found not guilty on Count(s)
□ Count(s)                                    □ is □ are dismissed as to this defendant on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

                                                                          May 24, 2022
                                                                          Date of imposition of Judgment




                                                                          Signature of Jiwge


                                                                                 LANJ^L HALL, CHIEF JUDGE
                                                                          UNITED STATES DISTRICT COURT
                                                                          SOUTHERN DISTRICT OF GEORGIA
                                                                          Name and Tilli/of Judg


                                                                          Date




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 DC Custody TSR

 DEFENDANT:              Michael Peyton Gunn
 CASE NUMBER:            I:20CR000I4-I




                                      ADDITIONAL COUNTS OF CONVICTION

Title & Section                      Nature of Offense                                          Offense Ended         Count


18U.S.C.§1591(a),                    Sex trafficking of a child                                  July 22, 2019          2s
18U.S.C. §1591(b)(l)

18 U.S.C. §2422(b)                   Coercion and enticement ofa child to engage in sexual       July 22, 2019          3s
                                     activitv

18U.S.C. §2251(b),                   Production of child pornography by a parent or guardian   November 30, 2019        4s
18 U.S.C. §2251(e)

18 U.S.C. §2251(b),                  Production of child pornography by a parent or guardian   November 30,2019         5s
18 U.S.C. §2251(e)

18 U.S.C. §2251(b),                  Production of child pornography by a parent or guardian   October 31,2019          6s
18 U.S.C. §225 Ue)

18 U.S.C. §2251(b),                  Production of child pornography by a parent or guardian     July 31, 2019          7s
18 U.S.C. §2251(e)

18 U.S.C. §2252A(a)(5)(B),          Possession of child pornography                             February 7, 2019        8s
18 U.S.C. §2252A(b)(2)

18 U.S.C. §1591(d)                   Obstruction of a child sex trafficking investigation      December 9,2020          9s




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DC Custody TSR

DEFENDANT:                   Michael Peyton Gunn
CASE NUMBER:                 1:20CR00014-I



                                                                IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term
            of: life. This sentence consists of terms of life as to each of Counts Is through 3s. 30 years as to each of Counts 4s
            through 7s. 20 years as to Count 8s. and 25 years as to Count 9s. all to be served concurrently.

     13     The Court makes the following recommendations to the Bureau of Prisons:
            It is recommended that the defendant be evaluated by Bureau of Prisons officials to establish his participation in an
            appropriate program of substance abuse treatment and counseling, including the Residential Drug Abuse Program
           (RDAP),during his term of incarceration.

     13     The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

          □      at                                □     a.m.     □ p.m.          on
          □      as notified by the United States Marshal.

     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          □      before 2 p.m. on
          □      as notified by the United States Marshal.
          □      as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                     , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL




                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL




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DEFENDANT:                Michael Peyton Gunn
CASE NUMBER:              I:20CR000I4-I



                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: life as to each of Counts Is through 9s. to be served
concurrentlv.


                                                    MANDATORY CONDITIONS

1.    You must not commit another federal, state, or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
       □ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
      substance abuse. (Check, ifapplicable.)
4.     IS You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution. (Check, ifapplicable.)
5.     IS You must cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)
6.     IS You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
      reside, work, are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)
7.     □ You must participate in an approved program for domestic violence. (Check, ifapplicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.




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DEFEN DANT:               M ichael Peyton Gunn
CASE NUMBER:              1:20CR00014-1



                                      STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

   1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
        release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
        time frame.

  2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
  3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
        the court or the probation officer.
  4.    You must answer truthfully the questions asked by your probation officer.
  5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware ofa change or expected change.
  6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7. You must work full time (at least 30 hours per week)at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
     10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
        becoming aware of a change or expected change.
  8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
     been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
        permission of the probation officer.
  9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own,possess, or have access to a firearm, ammunition,destructive device,or dangerous weapon (i.e. anything that was
     designed,or was modified for, the specific purpose ofcausing bodily injury or death to another person such as a nunchakus or tasers).
 11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
        first getting permission from the court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified that person about the risk.
 13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provide me with a written copy of thisjudgment
containing these conditions. For further information regarding these conditions, see Ovennew of Probation and Supendsed Release
Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                               Date




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DEFENDANT:              Michael Peyton Gunn
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                                     SPECIAL CONDITIONS OF SUPERVISION


 1. You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not attempt to
     obstruct or tamper with the testing methods.

 2. You must provide the probation officer with access to any requested financial information and authorize the release of any
    financial information. The probation office may share financial information with the U.S. Attorney's Office.

 3. You must pay the financial penalty in accordance with the Schedule ofPayments sheet of this judgment. You must also notify
    the court of any changes in economic circumstances that might affect the ability to pay this financial penalty.

 4. You must submit your person, property, house, residence, office, vehicle, papers, computers (as defined in 18 U.S.C. §
    1030(e)(1)), other electronic communications or data storage devices or media, to a search conducted by a United States
    probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
    that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
    condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
     searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

 5. You must participate in a sex offense-specific treatment program and follow the rules and regulations of that program. The
    probation officer will supervise your participation in the program. You must pay the costs of treatment in an amount to be
    determined by the probation officer, based on ability to pay or availability of third-party payment.

 6. You must submit to periodic polygraph testing at the discretion of the probation officer as a means to ensure that you are in
    compliance with the requirements of your supervision or treatment program.

 7. You must not have direct contact with any child you know or reasonably should know to be under the age of 18,including your
    own children, without the permission of the probation officer. If you do have any direct contact with any child you know or
    reasonably should know to be under the age of 18,including your own children, without the permission of Ae probation officer,
    you must report this contact to the probation officer within 24 hours. Direct contact includes written communication, in-person
    communication,or physical contact. Direct contact does not include incidental contact during ordinary daily activities in public
     places.

 8. You must not view or possess any 'visual depiction'(as defined in 18 U.S.C. § 2256), including any photograph, film, video,
    picture, or computer or computer-generated image or picture, whether made or produced by electronic, mechanical, or other
     means, of'sexually explicit conduct'(as defined in 18 U.S.C. § 2256).

 9. You must not go to, or remain at, any place where you know children under the age of 18 are likely to be, including parks,
     schools, playgrounds, and childcare facilities.

 10. You must submit your computers (as defined in 18 U.S.C. § 1030(e)(1)) or other electronic communications or data storage
     devices or media, to a search. You must warn any other people who use these computers or devices capable of accessing the
     Internet that the devices may be subject to searches pursuant to this condition. A probation officer may conduct a search
     pursuant to this condition only when reasonable suspicion exists that there is a violation of a condition of supervision and that
     the computer or device contains evidence ofthis violation. Any search will be conducted at a reasonable time and in a reasonable
     manner.



 11. A curfew is imposed as a special condition ofsupervised release. You must comply with the conditions ofa curfew from 10:00
     p.m. until 6:00 a.m. for the period of supervision. During this time, you will remain at your place of residence at all times and
     shall not leave except when such leave is approved in advance by the probation officer.




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DEFENDANT:               Michael Peyton Gunn
CASE NUMBER:             l:20CR00014-l




                                            CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminal monetary penalties under the schedule of payments.

            Assessment                 Restitution            Fine                    AVAA Assessment*        JVTA Assessment **
TOTALS $900                        $800,000                None                       $500                    Waived


□      The determination of restitution is deferred until                               An Amended Judgment in a Criminal Case(A0245C)
       will be entered after such determination.


      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
       in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
      paid before the United States is paid.

Name of Payee                              Total Loss***                         Restitution Ordered               Priority or Percentage

Minor victim (G.G.)                                                                    $800,000                                1




TOTALS                             $                                                     800,000

□     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
      penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

13    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     13    the interest requirement is waived for the         □      fine      |3 restitution.
     □     the interest requirement for the          □ fine          □ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109 A, 110,1 lOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.




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DC Custody TSR

DEFENDANT;                    Michael Peyton Gunn
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                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A        ^ Lump sum payment of$               $1,400 due immediately, balance due

             □     not later than                                       , or
             ^     in accordance       DC,          □ D,        E, or           F below; or

B        □ Payment to begin immediately (may be combined with                   DC,           □ D, or        DP below); or

C        □ Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                              (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D        D Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                          (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E        □   Payment during the term of supervised release will commence within                              (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F        ^   Special instructions regarding the payment of criminal monetary penalties:
             Pursuant to 18 U.S.C. § 3664(f)(3)(B), nominal payments of either quarterly installments of a minimum of $25
             if working non-UNICOR or a minimum of 50 percent of monthly earnings if working UNICOR shall be made.
             If ever released from imprisonment and while on supervised release, nominal payments of a minimum of $500
             per month shall be made. Payments are to be made payable to the Clerk, United States District Court, for
             disbursement to the victim.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

D         Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.




□         The defendant shall pay the cost of prosecution.
□        The defendant shall pay the following court cost(s):
□        The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.




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           IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                            AUGUSTA DIVISION


UNITED STATES OF AMERICA


            V.                                  CR 120-014


MICHAEL PEYTON GUNN



                                 ORDER




     Before the Court is Defendant Michael Peyton Gunn's motion

for judgment of acquittal under Federal Rule of Criminal Procedure
29, or in the alternative, motion for new trial under Federal Rule
of Criminal Procedure 33.       (Doc. 256.)     For the reasons set forth

below. Defendant's motions are DENIED.



                               I. BACKGROUND


     On November 18, 2021, a jury convicted Defendant on nine

counts: (1) sex trafficking conspiracy under 18 U.S.C. § 1594(c);
(2) sex trafficking of a child under 18 U.S.C. § 1591(a); (3)
coercion and enticement of a minor to engage in sexual activity

under 18 U.S.C. § 2422(b); (4-7) four counts of                production of

child pornography by a parent or guardian under 18 U.S.C. §
2251(b); (8) possession of child pornography (visual depiction of
actual minor) under 18 U.S.C. § 2252(a)(5)(B); and (9) obstruction

of a child sex trafficking investigation under 18 U.S.C. § 1591(d).

(Doc. 254.) At the close of the Government's case. Defendant moved
for a judgment of acquittal on all counts under Federal Rule of



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Criminal Procedure 29,       The Court denied his motion.           Defendant

now renews his motion for judgment of acquittal and moves for a

new trial in the alternative.        (Doc. 256).



                II. MOTION FOR JUDGMENT OF ACQUITTAL

A. Legal Standard

     A motion for judgment of acquittal should be granted only if
^^the evidence is insufficient to sustain a conviction" of the

offense charged.     Fed. R. Crim. P. 29(a). In considering a Rule 29
motion, ''the trial court is required to determine whether, viewing
all the evidence in the light most favorable to the Government and
drawing all reasonable inferences and credibility choices in favor
of the jury's verdict, a reasonable trier of fact could find that
the evidence established guilt beyond a reasonable doubt.

States V. O'Keefe, 825 F.2d 314, 319 (11th Cir. 1987) (citations
omitted). The verdict must stand if there is substantial evidence
to support it, that is, "unless no trier of fact could have found
guilt beyond a reasonable doubt."          United States v. Pineiro, 389
F.3d 1359, 1367 (11th Cir. 2004) (citation and quotation marks
omitted).

B. Analysis

     Defendant argues "the [G]overnment did not present sufficient
evidence to convict the Defendant of the counts alleged in the

Indictment." (Doc. 256, at 2.) Further, he argues "even taken in

the light most favorable to the Government, there was insufficient




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evidence at trial to establish beyond a reasonable doubt that the

defendant conunitted the counts alleged in the Indictment."                  (1*^•

at 2-3.)   The Government responded to Defendant's motion, arguing

Defendant's contentions are without merit and the evidence at trial

conclusively proved Defendant guilty on all nine counts of the
Indictment.     (Doc. 259, at 3-4.)

     1. Count One - Sex Trafficking Conspiracy

     To prove sex trafficking conspiracy, the Government had to
prove beyond a reasonable doubt:

     (1) two or more persons, in some way or manner, agreed
         to try to accomplish a common and unlawful plan to
           commit sex trafficking of a child, as charged in the
           indictment; and


     (2) the Defendant knew the unlawful purpose of the plan
           and willfully joined in it; and

      (3) the object of the unlawful plan was to knowingly
          recruit, entice, harbor, transport, provide, obtain,
           or   maintain    by   any   means   the    Minor,   whom    the
           Defendant knew, or recklessly disregarded the fact,
           had not attained the age of 18 years, or whom the
           Defendant had a reasonable opportunity to observe,
           whom would be caused to engage in a commercial sex
           act; and

      (4) that the object of the Defendant's plan was in or
           affected interstate commerce.


18 U.S.C. § 1594(c). The Court finds the Government met its burden

of proof as to all elements of count one. As to element one, the
Government presented the testimony of co-defendant Amanda Gunn who
explained the background and operation of the sex trafficking
conspiracy.     As to the second element, the Government presented




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testimony and exhibits       {including the testimony of the minor

victim)    that   showed   how   Defendant     acted   to    carry   out    the

conspiracy, as well as audio recordings of Defendant's statements

given to law enforcement.         As to element three, the Government

presented testimony by the minor victim, audio recordings of

Defendant's statements given to law enforcement, testimony of

Jonathan Grantham (who engaged in the sex trafficking for which he

was separately convicted), and voluminous other evidence that
Defendant planned to traffic the minor victim across state lines
for the purpose of engaging in commercial sex acts. The Government
showed Defendant planned to commercially traffic the minor victim,
whom he knew was under the age of eighteen, to commit commercial

sex acts for money and other consideration, and that he actually
did, among other acts, recruit, maintain, harbor, transport, and
provide the minor victim for that purpose.             As to element four.
Defendant engaged in commercial sex trafficking from his home in
Georgia across state lines into North Augusta, South Carolina,
specifically with a resident of South Carolina who engaged in sex
acts with the minor victim at a motel in that state.             As such, the
evidence    presented by the Government            was sufficient for a
reasonable trier of fact to find Defendant guilty beyond a

reasonable doubt as to count one.




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    2. Count Two - Sex Trafficking of a Child

    To prove sex trafficking of a child, the Government had to

prove beyond a reasonable doubt:

    (1)      the   Defendant  knowingly   recruited, enticed,
             harbored, transported, provided, obtained, or
             maintained by any means the Minor;

     (2)     that the Defendant did so knowing or in reckless
             disregard of the fact that the Minor had not
             attained the age of 18 years and would be caused
             to engage in a commercial sex act, or whom the
             Defendant had a reasonable opportunity to observe;
             and


     (3)     that the Defendant's acts were in or affected
             interstate commerce.



18 U.S.C. § 1591(a).      The Government provided sufficient evidence

for a reasonable trier of fact to find Defendant guilty beyond a

reasonable doubt of count two.          As to elements one and two, the

Government    presented    testimony       by   the   minor   victim,    audio
recordings of Defendant's statements given to law enforcement,
testimony of Jonathan Grantham (who engaged in the sex trafficking
for which he was separately convicted), and voluminous other
evidence that showed Defendant knowingly transported the minor

victim across state lines for the purpose of engaging in commercial

sex acts.    The Government further showed Defendant knew the minor

victim was under the age of eighteen, and that Defendant had a
reasonable opportunity to observe the victim.                 Further, as to

element three, the Government presented testimony that the minor
victim crossed the state line between Georgia and South Carolina,

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which affected interstate commerce.           This evidence supports the

Government meeting its burden of proof as to count two.

     3. Count Three - Coercion and Enticement of a Minor to Engage
         in Sexual Activity


     To prove coercion and enticement of a minor to engage in

sexual activity, the Government had to prove beyond a reasonable

doubt:


     (1)   the   Defendant  knowingly   persuaded,  induced,
           enticed, or coerced the Minor to engage in sexual
           activity, as charged;

     (2)   the Defendant used the internet to do so;

     (3)   when the Defendant did these acts, the Minor was
           less than 18 years old; and

     (4)   one or more of the individual(s) engaging in the
           sexual activity could have been charged with a
           criminal offense under the law of Georgia.


18 U.S.C. § 2422(b).      The Government provided sufficient evidence

for count three.      As to element one, the Government introduced

testimony of the minor victim that showed Defendant knowingly
coerced her to engage in sexual activity.              The Government also
introduced other testimony, specifically that of Amanda Gunn,

demonstrating that Defendant forced the minor victim to engage in
commercial sex acts.     As to element two, the minor victim provided

extensive testimony describing the Defendant's use of the internet

to coerce the minor victim to engage in commercial sex acts.

Jonathan Grantham also testified as to how he contacted the minor

victim to engage in sex acts, namely by use of internet websites.




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and    the     Government presented      evidence    that   Defendant     was the

operator of the internet accounts through which he committed sex

trafficking of the minor victim.              As to element three, as shown

above, the Government proved the minor victim was younger than

eighteen years old at the time. As to element four, the Government

showed that       Defendant's conduct could          have   been charged      as a

criminal offense under the law of Georgia - specifically, child

molestation and other related offenses.

        This evidence supports the Government meeting its burden of

proof as to count three.

        4.     Counts Four, Five, Six, and Seven - Production of Child
               Pornography by a Parent or Guardian

        To prove production of child pornography by a parent or
guardian, the Government had to prove beyond a reasonable doubt.
        (1)     an actual minor, that is, a real person who was
                less than 18 years old, was depicted;

         (2)    the Defendant was a parent or legal guardian of the
                Minor;


         (1)    the Defendant employed, used, persuaded, induced,
                enticed, or coerced the minor to engage in sexually
                explicit conduct for the purpose of producing a
                visual depiction, e.g., video tape, of the conduct;

         (2)    either (a) the Defendant knew or had reason to know
                that the visual depiction, e.g., video tape, would
                be mailed or transported in interstate or foreign
                commerce; (b) the visual depiction, e.g., video
                tape, was produced using materials that had been
                mailed, shipped, or transported in interstate or
                foreign commerce by any means, including by
                computer; or (c) the visual depiction, e.g., video
                tape, was mailed or actually transported in
                interstate or foreign commerce.




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18 U.S.C. § 2251(b).      The Government provided sufficient evidence

for counts four through seven.         As to element one, the Government

showed the minor victim was a real person under the age of eighteen

at all relevant times.      The minor victim testified in the case and

is still under the age of eighteen.               As to element two, the

Government introduced the testimony of the minor victim and Amanda

Gunn to demonstrate that defendant was the legal guardian of the

minor victim at all relevant times.              As to element three, the

Government introduced voluminous evidence, including testimony by

numerous    law    enforcement      officials,     photographic      evidence,

physical evidence, including an identifying piece of clothing
owned by Defendant and present in a series of child pornography
images, and testimony of the minor victim and Amanda Gunn, all of
which showed Defendant coerced the minor to engage in sexually
explicit conduct for the purpose of producing and distributing
child pornography. As to element four, the Government introduced
testimony and photographic evidence that Defendant shipped the
visual depictions in interstate commerce via the internet, that
the depictions were actually transported in interstate commerce,
and that Defendant knew or had reason to know the same.                     This
evidence supports the Government meeting its burden of proof as to
counts four through seven.

      (5)   Count Eight - Possession of Child Pornography (Visual
            Depiction of Actual Minor)




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      To prove possession of child pornography (visual depiction of

actual minor), the Government had to prove beyond a reasonable

doubt:


      (1)   the Defendant knowingly possessed an item or items
            of child pornography;

      (2)   the item[s] of child pornography had been
            transported, shipped, or mailed in interstate or
            foreign commerce, including by computer; and

      (3)   when the    Defendant possessed the item[s], the
            Defendant    believed      the    item[s]      were    child
            pornography.


18 U.S.C. § 2252A(a)(5)(B).         The Government provided sufficient
evidence for count eight. As to element one, the Government showed
Defendant possessed numerous items of child pornography by
introducing forensic evidence relating to electronic devices
belonging to Defendant which held child pornography, as well as
forensic evidence tying child pornography to email addresses
controlled by Defendant.          As to element two, the Government
introduced witness testimony by law enforcement officials in Texas
that the items of child pornography at issue were transported
across state lines from Georgia via computer. As to element three,
the   Government    introduced     testimony     and   evidence,     including
testimony by the minor victim and Amanda Gunn, that the Defendant
knew the items were child pornography at all relevant times. This
evidence supports the Government meeting its burden of proof as to
count eight.




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     6.    Count    Nine   -   Obstruction    of   a   Child   Sex   Trafficking
           Investigation

     To prove obstruction of a sex trafficking investigation, the

Government had to prove beyond a reasonable doubt:

     (1)    the    Defendant     knowingly    obstructed       or   attempted   to
            obstruct the enforcement of investigation; and


     (2)    the investigation related to 18              U.S.C. § 1591 (Sex
            Trafficking of a Child).

18 U.S.C. § 1591(d).           Again, the Government provided sufficient

evidence    for    count   nine.    As to element one, the            Government

introduced the complete audio recording of the statement Defendant

gave to law enforcement in which he obfuscated his activities
related    to   the   above-described       counts.      The    Government   also

provided evidence the Defendant destroyed a cellular phone filled
with relevant evidence. This showed he obstructed an investigation

into sex trafficking activity.               Finally, as described above,
element two is satisfied because one of the counts charged and

investigated was related to 18 U.S.C. § 1591.

     Based on this, a reasonable trier of fact could find the

evidence established guilt beyond a reasonable doubt as to all
counts, and Defendant's motion for acquittal is DENIED.



                           III. MOTION FOR NEW TRIAL


A. Legal Standard

      A motion for new trial must be granted ""if the interest of

justice so requires."           Fed. R. Crim. P. 33(a).         A court can set

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aside a verdict and grant a new trial if it concludes that "[t]he

evidence must preponderate heavily against the verdict, such that

it would be a miscarriage of justice to let the verdict stand."

United States v. Martinez, 763 F.2d 1297, 1313 (11th Cir. 1985)

(citation omitted).      Motions for new trial based on the weight of

the evidence are not favored; the Eleventh Circuit directs that

courts    cautiously   and    sparingly     grant   them   only in ''really
exceptional cases." Id. (citations and quotation marks omitted).
Unlike a motion for judgment of acquittal, "the court need not
view the evidence in the light most favorable to the verdict," and

it may weigh the evidence and consider witnesses                credibility.
Id. at 1312 (citations omitted).           While the district court enjoys
broad discretion, it may not "reweigh the evidence and set aside
the verdict simply because it feels some other result would be
more reasonable."            at 1312-13 (citation omitted).

B. Analysis

      Defendant moves for a new trial on all counts, arguing that

"[e]ven if the evidence is found sufficient to sustain the verdict,
it preponderates heavily against the verdict." (Doc. 256, at 4.)
Defendant's main contention is that "[t]he testimony and exhibits

from the Government offered proof that someone committed the crimes
alleged and did not establish that it was the Defendant to the
exclusion of every other reasonable hypothesis." (Id. at 3.) The
Government argues this contention is without merit, and the Court
agrees.    (Doc. 259, at 5.)


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     From the Court's review of the record and its own recollection

of the evidence presented at trial, the Court determines that

Defendant     fails     to   demonstrate   that     the   evidence    heavily

preponderates against the jury's guilty verdict on counts one

through   nine.         The Court finds no        miscarriage   of justice;
therefore, the Court DENIES Defendant's motion for a new trial.



                               IV. CONCLUSION


     Based on the foregoing, the Defendant cannot show that the

evidence at trial, viewed in the light most favorable to the

Government,       was     insufficient     to   sustain     a   conviction.
Accordingly, Defendant's motion for judgment of acquittal is
DENIED.     Similarly, none of the grounds set forth by Defendant
require the Court to set aside the verdict and grant a new trial,
so his motion for new trial is also DENIED.

     ORDER ENTERED at Augusta, Georgia, this                day of February,

2022.




                                                  HALL,/:Hr6F JUDGE
                                    UNITED STAtES DISTRICT COURT
                                    SOUTHE^N^DISTRICT OF GEORGIA




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